                        Case 1:19-cr-00127-AMD-ST Document 68 Filed 04/27/20 Page 1 of 1 PageID #: 337
CJA 20 APPOINTMENT OF AND AUTHORITY TO PAY COURT-APPOINTED COUNSEL (Rev. 07/17)
1. CIR./DIST./ DIV. CODE                            2. PERSON REPRESENTED                                                               VOUCHER NUMBER
 EDNY                                                LUCIO CELLI
3. MAG. DKT./DEF. NUMBER                                       4. DIST. DKT./DEF. NUMBER                     5. APPEALS DKT./DEF. NUMBER                      6. OTHER DKT. NUMBER
                                                                CR 19-00127
7. IN CASE/MATTER OF (Case Name)                               8. PAYMENT CATEGORY                           9. TYPE PERSON REPRESENTED                       10. REPRESENTATION TYPE
                                                               ✔ Felony
                                                               G                        G Petty Offense      ✔ Adult Defendant
                                                                                                             G                            G Appellant             (See Instructions)
 USA V. CELLI                                                  G Misdemeanor            G Other              G Juvenile Defendant         G Appellee
                                                               G Appeal                                      G Other
11. OFFENSE(S) CHARGED (Cite U.S. Code, Title & Section) If more than one offense, list (up to five) major offenses charged, according to severity of offense.



12. ATTORNEY’S NAME (First Name, M.I., Last Name, including any suffix),                                     13. COURT ORDER
    AND MAILING ADDRESS                                                                                          ✔ O Appointing Counsel
                                                                                                                 G                                            G C Co-Counsel
                                                                                                                 G F Subs For Federal Defender                G R Subs For Retained Attorney
 Zachary S. Taylor Taylor & Cohen, LLP                                                                           G P Subs For Panel Attorney                  G Y Standby Counsel
 40 Worth Street, 10th Floor
 New York, NY 10013                                                                                          Prior Attorney’s
                                                                                                                 Appointment Dates:
                                                                                                              G Because the above-named person represented has testified under oath or has otherwise
                 Telephone Number :                           (212) 257-1902                                 satisfied this Court that he or she (1) is financially unable to employ counsel and (2) does
                                                                                                             not wish to waive counsel, and because the interests of justice so require, the attorney whose
14. NAME AND MAILING ADDRESS OF LAW FIRM (Only provide per instructions)                                     name appears in Item 12 is appointed to represent this person in this case, OR
                                                                                                              G Other (See Instructions)
                                                                                                                                 s/Ann M. Donnelly
                                                                                                                                 Signature of Presiding Judge or By Order of the Court

                                                                                                                               4/27/2020
                                                                                                                             Date of Order                               Nunc Pro Tunc Date
                                                                                                             Repayment or partial repayment ordered from the person represented for this service at time
                                                                                                             appointment.        G YES G NO
                                     CLAIM FOR SERVICES AND EXPENSES                                                                                 FOR COURT USE ONLY
                                                                                                                       TOTAL             MATH/TECH.             MATH/TECH.
                                                                                               HOURS                                                                                    ADDITIONAL
                  CATEGORIES (Attach itemization of services with dates)                                              AMOUNT              ADJUSTED               ADJUSTED
                                                                                              CLAIMED                                                                                     REVIEW
                                                                                                                      CLAIMED              HOURS                 AMOUNT
15.               a.   Arraignment and/or Plea                                                                                0.00                                           0.00
                  b.   Bail and Detention Hearings                                                                            0.00                                           0.00
                  c.   Motion Hearings                                                                                        0.00                                           0.00
                  d.   Trial                                                                                                  0.00                                           0.00
  In Court




                  e.   Sentencing Hearings                                                                                    0.00                                           0.00
                  f.   Revocation Hearings                                                                                    0.00                                           0.00
                  g.   Appeals Court                                                                                          0.00                                           0.00
                  h.   Other (Specify on additional sheets)                                                                   0.00                                           0.00
                  (RATE PER HOUR = $                                 )   TOTALS:                          0.00                0.00                   0.00                    0.00
16.               a.   Interviews and Conferences                                                                             0.00                                           0.00
                  b.   Obtaining and reviewing records                                                                        0.00                                           0.00
  Out of Court




                  c.   Legal research and brief writing                                                                       0.00                                           0.00
                  d.   Travel time                                                                                            0.00                                           0.00
                  e.   Investigative and other work (Specify on additional sheets)                                            0.00                                           0.00
                  (RATE PER HOUR = $                                 )   TOTALS:                          0.00                0.00                   0.00                    0.00
17.               Travel Expenses (lodging, parking, meals, mileage, etc.)
18.               Other Expenses (other than expert, transcripts, etc.)
GRAND TOTALS (CLAIMED AND ADJUSTED):                                                                                         0.00                                           0.00
19. CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERIOD OF SERVICE                                                      20. APPOINTMENT TERMINATION DATE                        21. CASE DISPOSITION
                                                                                                                       IF OTHER THAN CASE COMPLETION
           FROM:                                                   TO:
22. CLAIM STATUS                               G Final Payment               G Interim Payment Number                                        G Supplemental Payment
                 Have you previously applied to the court for compensation and/or reimbursement for this case? G YES G NO               If yes, were you paid?    G YES G NO
                 Other than from the Court, have you, or to your knowledge has anyone else, received payment (compensation or anything of value) from any other source in connection with this
                 representation? G YES         G NO            If yes, give details on additional sheets.
                 I swear or affirm the truth or correctness of the above statements.
                 Signature of Attorney                                                                                                            Date

                                                                     APPROVED FOR PAYMENT — COURT USE ONLY
23. IN COURT COMP.                                24. OUT OF COURT COMP.             25. TRAVEL EXPENSES              26. OTHER EXPENSES                      27. TOTAL AMT. APPR./CERT.
                                                                                                                                                               $0.00
28. SIGNATURE OF THE PRESIDING JUDGE                                                                                  DATE                                    28a. JUDGE CODE

29. IN COURT COMP.                                30. OUT OF COURT COMP.             31. TRAVEL EXPENSES              32. OTHER EXPENSES                      33. TOTAL AMT. APPROVED
                                                                                                                                                               $0.00
34. SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Payment approved                                         DATE                                    34a. JUDGE CODE
    in excess of the statutory threshold amount.




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